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05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07
     UNITED STATES OF AMERICA,            )
08                                        )
                 Plaintiff,               )
09                                        )             Case No. CR06-106-RSM
           v.                             )
10                                        )
     JERRY BUNNAO RACCA,                  )             DETENTION ORDER
11                                        )
                 Defendant.               )
12   ____________________________________ )

13 Offenses charged:

14          Count 1: Conspiracy to Commit Bank Fraud in violation of 18 U.S.C. §§ 1344 and 2.

15 Date of Detention Hearing: November 21, 2006.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

18         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

19          Defendant has stipulated to detention based on the prior California detention order issued

20 November 8, 2006, but has reserved the right to contest his continued detention if there are new

21 circumstances that should arise.

22          IT IS THEREFORE ORDERED:

23          (1)     Defendant shall be detained pending trial and committed to the custody of the

24                  Attorney General for confinement in a correction facility separate, to the extent

25                  practicable, from persons awaiting or serving sentences or being held in custody

26                  pending appeal;

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

02               counsel;

03         (3)   On order of a court of the United States or on request of an attorney for the

04               government, the person in charge of the corrections facility in which defendant

05               is confined shall deliver the defendant to a United States Marshal for the purpose

06               of an appearance in connection with a court proceeding; and

07         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

08               counsel for the defendant, to the United States Marshal, and to the United States

09               Pretrial Services Officer.

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                 DATED this 21st day of November, 2006.


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                                                       JAMES P. DONOHUE
13                                                     United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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